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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

IN RE:

APPLICATION OF ROBERT GORDON KIDD FOR
AN ORDER UNDER 28 U.S.C. § 1782 TO TAKE
DISCOVERY FROM JOHN THOMAS REYNOLDS
AND MARK MCCALL

 

 

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' APPLICATION OF ROBERT GORDON KIDD
FOR AN ORDER UNDER 28 U.S.C. § 1782 TO TAKE
DISCOVERY FROM JOHN THOMAS REYNOLDS AND MARK MCCALL

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Robert Gordon Kidd respectfully applies to this Court, based on the accompanying
Memorandum of Law and Declarations of Michael S. Kim, Rebecca Hume, and David Kerr, for
an order pursuant to 28 U.S.C. § 1782 (“Section 1782”) authorizing Mr. Kidd to take discovery from John
Thomas Reynolds and Mark McCall for use in a proceeding pending before Scotland’s Court of
Session (the “Scottish Proceeding”).

The application meets the three statutory requirements set forth in Section 1782. First, the
respondents from sion discovery is sought, John Thomas Reynolds and Mark McCall, are found
within the District of Connecticut. Second, the documents and deposition testimony requested are
“for use” in the Scottish Proceeding. Third, as the “Pursuer” (i.e., the plaintiff) in the Scottish
Proceeding, Mr. Kidd qualifies as an “interested person” under Section 1782.

Further, the four discretionary factors set out by the United States Supreme Court in Intel
Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004), weigh in favor of granting the
application. First, the individuals from whom discovery is sought, John Thomas Reynolds and
Mark McCall, are not parties to the foreign proceeding. Second,, the foreign court would be,
receptive to U.S. federal court judicial assistance. Third, Mr. Kidd seeks this discovery in good
faith and not in an attempt to circumvent Scottish proof-gathering restrictions. Finally, the
discovery requests are not unduly intrusive or burdensome. Rather, the document requests are
narrowly tailored to the subject of the Scottish Proceeding.

Accordingly, and for the reasons set forth in the accompanying Memorandum of Law, Mr.
Kidd respectfully requests that the Court grant him authority to serve John Thomas Reynolds and
Mark McCall with subpoenas in the forms attached as Exhibits 1 and 2, respectively, to the Declaration

of Michael S. Kim filed contemporaneously herewith.
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Dated: February 20, 2020

Respectfully submitted,
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